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                                                                                               EXHIBIT A

                                  IN THE UNITED STATES DTSTRICT COURT
                                     FOR THE DISTRICT OF MARYLAND

 BRYCE CARRASCO,

            Plaintiff,

                                                                    Case   No.: SAG-21-532
 M&T BANK,

           Delendant.




                        AFFIDAVIT OF KATHLEEN EVANS
         IN OPPOSITION TO PLAINTIFF'S MOTION FOR SUMMARY JUDGMENT
 AND IN                                                                FOR

           I, Kathleen Evans, do hereby certify that I have personal knowledge of the matters set

 forth herein, and attest as follows:

           l.         I am over the age of eighteen year and fully competent to testify to the facts and

matters set forth herein.

           2.        I   am an Administrative Vice President, Operations Manager for M&T Bank

("M&T")         and among other things,   I oversee the Retail Loan Servicing, Banking Services and the

Credit Bureau Research Group. I investigate any mortgage servicing related problems that may

arise, handle elevated credit disputes lor all product lines, and handle many regulatory compliance

obligations for M&T related to required disclosures, statements, and credit reporting requirements.

I have access to and regularly review customer account information and account records including,

but not limited to, monthly account statements, correspondence from         M&T relating to the servicing

and maintenance of a customer's account.

          3.         True and accurate copies of the account statements for the M&T Visa With

Rewards Credit Card, account ending x6414 ("the Account"), as maintained by M&T in the



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ordinary course are attached as Exhibits       4,7, 10, 12, 15, 16 and 25 to the Memorandum         in

Opposition to Plaintiff s Motion for Summary Judgment and in support of M&T's Motion for

Summary Judgment ("M&T's Memorandum"). According to M&T's records, the monthly account

statements for the Account, were mailed to Bryce O. Carrasco at 100 Redwood St E Apt 2013,

Baltimore Maryland 21202, which is the address on record for the Account.

        4.      True and accurate copies of letlers dated September 18,2020, September 25,2020,

October 16,2020, November 5,2020, November 16,2020, and December 1,2020 sent by M&T

to Mr. Carrasco are attached as Exhibits 6, 8 9, I l, 13, and 14 to M&T's Memorandum.

        5.      M&T does not issue credit reports; rather, it is a fumisher of information to   the

CRAs.

        6.      M&T    has registered   with e-OSCAR to receive consumer credit history disputes.

        7.      E-OSCAR provides         M&T with an Automated Credit Dispute          Verification

("ACDV") after it receives a consumer dispute sent to a CRA. The ACDV received from                 e-

OSCAR is an electronic message containing a dispute code. The original dispute from the

consumer is not forwarded to M&T.

        8.      Upon receipt    of an ACDV, M&T             conducts an investigation based on the

information provided to it by e-OSCAR. Upon completion of its investigation of the disputed

information, M&T reports its results to e-OSCAR. Depending on the results of the investigation,

M&T may return the ACDV to the initiating CRA verifying the accuracy of the                reported

information relating to the consumer's credit history and/or providing updated information (if any)

relating to the consumer's credit history, if applicable.




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        9.       M&T has no control over the substance of the response from a CRA to             the

consumer. Further, M&T has no control over the date upon which a CRA notifies a consumer of

the results of its investigation.

        10.      E-OSCAR does not inform M&T of the substance of the CRA's response to the

consumer or the date upon which such a response is made, and           M&T does not have any
independent knowledge of this information.

        I   l.   On December 31, 2020, M&T received two ACDVs from e-OSCAR regarding a

dispute by Bryce Carrasco.

                 a.      The first ACDV received on Decemb er 31, 2020 related to a dispute made

to TransUnion LLC ("TransUnion"). The ACDV was coded as "Dispute Code             l:   118: Disputes

Current Balance and/or Amount Past Due. Verify Current Balance or Amount Past Due" and

"Dispute Code     2:   106: Disputes presenVprevious Account Status,/Payment Rating/Account

History. Verify Account Status, Payment Rating and Account History." The ACDV also provided

the following information reported by Mr. Carrasco: "The creditor has engaged in intimidation

tactics without properly communicating with borrower regarding overdue payments. The creditor

did not have accurate contact information and did not contact me ever Times Disputed in Last 120

Days 0." No additional information was provided by e-OSCAR in connection with the December

31,2020 dispute to TransUnion. Joanna Massey, Banking Services Operations Association III-

Credit Bureau Dispute, investigated the dispute, including reviewing the account information,

account status, payment history and account servicing records for the Account. As a result of her

investigation, Ms. Massey submitted a responsive ACDV on January 5,2OZl, updating certain

disputed information and verifying the accuracy of other information. A true and accurate copy    of
the responsive ACDV as maintained by     M&T in the ordinary   course is attached as   Exhibit l7 to



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M&T's Memorandum. The results of Ms. Massey's investigation appear in the pink                     shaded boxes

in the ACDVI attached as Exhibit l7 to M&T's Memorandum.



                  b.       The second ACDV received on December 31, 2020 related to a dispute

made to Experian. The ACDV was coded as "Dispute Code                      l: ll2: Consumer states inaccurate
information. Provide or confirmed complete ID and verify allAccount Information." The ACDV

also provided the following information reported by Mr. Carrasco: "THE INFORMATION

SUBMITTED BY M7T BANK WAS NOT IN GOOD FAITH AND I HAVE NOTIFIED M T OF

THS AND EXPECT THEY WILL ADDRESS THIS ERROR AS SOON AS POSSIBLE.'' NO

additional inlormation was provided by e-OSCAR in connection with the December 31,2020

dispute to Experian.      Ajit   Phulare, Contingent Worker in Banking Services, Retail Servicing,

investigated the dispute, including reviewing the account information, account status, payment

history and account servicing records for the Account. As           a   result of his investigation, Mr. Phulare

submitted a responsive ACDV on January 4,2021, updating certain account information and

verifying the accuracy of other information. A true and accurate copy of the responsive ACDV                    as


maintained by M&T in the ordinary course is attached as Exhibit l8 to M&T's Memorandum. The

results of Mr. Phulare's investigation appear in the pink shaded boxes in the ACDV attached                     as


Exhibit l8 to M&T's Memorandum.

         12.     On January 5,2021,       M&T received two more ACDVs from e-OSCAR regarding                     a

dispute by Bryce Carrasco. Both disputes were made to Experian.




I You will note that a watermark that says "DRAFT" appears on the ACDVs. Because of the way the system
                                                                                                           was set
up, copies printed by M&T say "DRAFT." While the ACDVs may say "DRAFT" they are in fact the final document
submitted in response to the dispute and were submitted on the date listed on the ACDV next to the employee name.


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                    a.     The first ACDV received on January 5,2021 was coded as "Dispute Code

l:   l12: Consumer states inaccurate information. Provide or confirmed complete ID and verify all

Account Information." No additional information was provided by e-OSCAR in connection with

the dispute to Experian. Ms. Massey investigated the dispute, including reviewing the account

information, account status, payment history and account servicing records for the Account. As a

result of her investigation, Ms. Massey submitted a responsive ACDV on January 5,2021,

updating certain account information and verilying the accuracy of other information. A true and

accurate copy of the responsive ACDV as maintained by         M&T in the ordinary   course is attached

as   Exhibit   19   to M&T's Memorandum. The results of Ms. Massey's investigation appear in the

pink shaded boxes in the ACDV attached as Exhibit l9 to M&T's Memorandum.

                           The second ACDV received on January 5,2021 was coded as "Dispute

Code   2: 106: Disputes present/previous Account Status,/Payment Rating/Account History. Verify

Account Status, Payment Rating and Account History." No additional information was provided

by e-OSCAR in connection with the January 5,2021 dispute to Experian. Lolita Kellam, Banking

Services Operations Associate       II, Credit   Bureau Dispute, investigated the dispute, including

reviewing the account information, account status, payment history and account servicing records

for the Account. As a result of her investigation, Ms. Kellam submitted a responsive ACDV on

January 6,2021, verifying the accuracy            of the disputed information and     updating other

information. A true and accurate copy of the responsive ACDV as maintained by M&T in the

ordinary course is attached as Exhibit 20 to M&T's Memorandum. The results of Ms. Kellam's

investigation appear in the pink shaded boxes in the ACDV attached as Exhibit 20 to M&T's

Memorandum.




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        13.     On January 7,2021, M&T received another ACDV from e-OSCAR regarding a

dispute by Bryce Carrasco made to Experian. The ACDV was coded as "Dispute Code             l: ll2:
Consumer states inaccurate information. Provide or confirmed complete ID and verify all Account

Information." No additional information was provided by e-OSCAR in connection with the

January 7, 2021 dispute to Experian. Shivanand Patil, Contingent Worker in Banking Services,

Retail Servicing, investigated the dispute, including reviewing the account information, account

status, payment history and account servicing records for the Account. As a result of her

investigation, Ms. Patil submitted a responsive ACDV on January 13,2021, updating Mr.

Carrasco's name with his middle initial and his address and telephone number with the information

on record with M&T, updating certain account information and verifying the accuracy of other

information. A true and accurate copy of the responsive ACDV         as maintained   by M&T in the

ordinary course is attached as Exhibit     2l to M&T's   Memorandum. The results of Ms. Patil's

investigation appear in the pink shaded boxes in the ACDV attached as Exhibit         2l to M&T's
Memorandum.

       14.     On February 9,2021, M&T received yet another ACDV from e-OSCAR regarding

a dispute by Bryce Carrasco made to     Experian. The ACDV was coded as "Dispute Code 1: I l2:

Consumer states inaccurate information. Provide or confirmed complete ID and verify all Account

Information." No additional information was provided by e-OSCAR in connection with the

February 9,2021 dispute to Experian. Mr. Phulare investigated the dispute, including reviewing

the account information, account status, payment history and account servicing records for the

Account. As   a result   of his investigation, Mr. Phulare submitted a responsive ACDV on February

10,2021, verifying the accuracy of the disputed information and updating other account

information. A true and accurate copy of the responsive ACDV as maintained by M&T in the



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ordinary course is attached as Exhibit 22toM&T's Memorandum. The results of Mr. Phulare's

investigation appear in the pink shaded boxes in the ACDV attached as Exhibit 22 to M&T's

Memorandum.

       15.      On February 20,2021,   M&T received a ACDV lrom e-OSCAR regarding           a dispute


by Bryce Carrasco with Equifax. The ACDV was coded as "Dispute Code                l:   106: Disputes

presenVprevious Account Status/Payment Rating/Account History.               Verify Account   Status,

Payment Rating and Account History." The ACDV also provided the following information

reported by Mr. Carrasco: "CONSUMER STATES THAT HE WAS NEVER LATE ON HIS

PAYMENT AND THERE iS NO BILLS THAT WAS SENT TO HIM AND WANTED TO

HAVE THE LATE PAYMWENT REMOVE." No additional information was provided by e-

OSCAR in connection with the February 20,2021 dispute to Equifax. Angie Townsend, Banking

Services Operations Associate V, Retail Servicing Escalations, investigated the dispute, including

reviewing the account information, account status, payment history and account servicing records

for the Account. As a result of her investigation, Ms. Townsend confirmed that M&T mailed

account statements to Mr. Carrasco to the address on record associated with account number

ending x6414 and submitted a responsive ACDV on February 25 2021, verifying the accuracy of

the information as of the date reported. A true and accurate copy of the responsive ACDV as

maintained by   M&T in the ordinary   course is attached as Exhibit 23 to   M&T's Memorandum.

       I6.      On February 23,2021, M&T received another ACDV from e-OSCAR regarding a

dispute by Bryce Carrasco made to Experian. The ACDV was coded as "Dispute Code 1:               ll2
Consumer states inaccurate information. Provide or confirmed complete ID and verify all Account

Information." No additional information was provided by e-OSCAR in connection with the

February 23,2021dispute to Experian. Mr. Phulare investigated the dispute, including reviewing




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the account information, account status, payment history and account servicing records for the

Account. As   a result   of his investigation, Mr. Phulare submitted   a   responsive ACDV on February

23,2021, updating Mr. Carrasco's name with his middle initial and his address and telephone

number with the information on record with M&T, updating certain account information and

verifying the accuracy of other information. A true and accurate copy of the responsive ACDV        as


maintained by M&T in the ordinary course is attached as Exhibit 24 to M&T's Memorandum. The

results of Mr. Phulare's investigation appear in the pink shaded boxes in the ACDV attached as

Exhibit 24 to M&T's Memorandum.

    I SOLEMNLY AFFIRM UNDER THE PENALTIES OF PERJURY THAT THE
CONTENTS OF THIS AFFTDA\/TT ARE TR



                                                Kathleen E,vans, Admin istrative Vice President,
                                                Operations Manager




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